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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-149V
                                        UNPUBLISHED


    FRANCIS E. SETHMAN, JR.,                                Chief Special Master Corcoran

                        Petitioner,                         Filed: April 2, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On February 13, 2020, Francis Sethman filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that he suffered Guillain-Barré Syndrome (GBS) as
a result of an influenza (“flu”) vaccine administered on September 27, 2018. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On March 31, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that Petitioner suffered the Table injury of GBS
following a flu vaccine within the Table time period and that there is not a preponderance
of medical evidence that Petitioner’s GBS was due to a factor unrelated to the vaccination.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Id. at 8-9. Respondent further agrees that the claim also meets the statutory severity
requirement, as Petitioner’s medical records show that he experienced sequela of his
GBS for more than six months. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Brian H. Corcoran
                                 Brian H. Corcoran
                                 Chief Special Master




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